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                        Exhibit A
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                                                                             EXHIBIT 4


________________________________________________________________________________




                               TRIBUNE COMPANY,

                                    ISSUER

                                      AND

                        BANK OF MONTREAL TRUST COMPANY,

                                    TRUSTEE


                         _____________________________


                                   INDENTURE

                           DATED AS OF APRIL 1, 1999


                        ______________________________



                         SUBORDINATED DEBT SECURITIES



________________________________________________________________________________
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SECTION 13.03. Deposited Moneys and U.S. Government Obligations to Be Held in
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Trust.
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          All moneys and U.S. Government Obligations deposited with the Trustee
pursuant to Section 13.02 in respect of Securities of a series shall be held in
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trust and applied by it, in accordance with the provisions of such Securities
and this Indenture, to the payment, either directly or through any Paying Agent
(including the Company acting as its own Paying Agent) as the Trustee may
determine, to the Holders of such Securities, of all sums due and to become due
thereon for principal (premium, if any) and interest, if any, but such money
need not be segregated from other funds except to the extent required by law.

SECTION 13.04. Repayment to Company.
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          The Trustee and any Paying Agent shall promptly pay or return to the
Company upon Company Request any money or U.S. Government Obligations held by
them at any time that are not required for the payment of the principal of
(premium, if any) and interest on the Securities of any series for which money
or U.S. Government Obligations have been deposited pursuant to Section 13.02.
                                                               -------------

          The provisions of the last paragraph of Section 10.03 shall apply to
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any money held by the Trustee or any Paying Agent under this Article that
remains unclaimed for one year after the maturity of any series of Securities
for which money or U.S. Government obligations have been deposited pursuant to
Section 13.02.
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                                  ARTICLE XIV

                                 SUBORDINATION

SECTION 14.01. Securities Subordinate to Senior Indebtedness.
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          The Securities shall be subordinated to Senior Indebtedness as set
forth in this Article Fourteen. The Company covenants and agrees, and each
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Holder of a Security of any series by such Holder's acceptance thereof likewise
covenants and agrees, that, to the extent and in the manner hereinafter set
forth in this Article Fourteen, the indebtedness represented by the Securities
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of such series and the payment of the principal amount, interest and such other
amounts as provided for in Section 3.01, if any, in respect of each and all of
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the Securities of such series are hereby expressly made subordinate and subject
in right of payment to the prior payment in full of all Senior Indebtedness;
provided, however, that no provision of this Article Fourteen shall prevent the
                                             ----------------
occurrence of any default or Event of Default hereunder.

          For purposes of this Article Fourteen, the following terms shall have
                               ----------------
the following meanings:

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               (1) "Indebtedness," as applied to a Person, means, as of the date
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     on which Indebtedness is to be determined and without duplication (i) all
     obligations represented by notes, bonds, debentures or similar evidences of
     indebtedness; (ii) all indebtedness for borrowed money or for the deferred
     purchase price of property or services other than, in the case of any such
     deferred purchase price, on normal trade terms; (iii) all rental
     obligations as lessee under leases which shall have been or should be, in
     accordance with generally accepted accounting principles, recorded as
     capital leases; and (iv) all Indebtedness of others for the payment of
     which such Person is responsible or liable as obligor or guarantor.

               (2) "Senior Indebtedness" means the principal of (and premium, if
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     any) and interest on (including interest accruing after the filing of a
     petition initiating any proceeding pursuant to any Federal bankruptcy law
     or any other applicable Federal or State law, but only to the extent
     allowed or permitted to the holder of such Indebtedness of the Company
     against the bankruptcy or any other insolvency estate of the Company in
     such proceeding) and other amounts due on or in connection with any
     Indebtedness of the Company incurred, assumed or guaranteed by the Company,
     whether outstanding on the date of this Indenture or hereafter incurred,
     assumed or guaranteed and all renewals, extensions and refundings of any
     such Indebtedness of the Company; provided, however, that the following
     will not constitute Senior Indebtedness:

                   (A) any Indebtedness of the Company as to which, in the
          instrument creating the same or evidencing the same or pursuant to
          which the same is outstanding, it is expressly provided that such
          Indebtedness of the Company shall be subordinated to or pari passu
          with the Securities;

                     (B) Indebtedness of the Company in respect of the Securities;

                   (C) any Indebtedness of the Company constituting trade
          accounts payable arising in the ordinary course of business; and

                     (D) any Indebtedness of the Company to any Subsidiary of the
          Company.

SECTION 14.02.       Payment Over of Proceeds upon Dissolution, Etc.
                     ----------------------------------------------

          Upon any distribution of assets of the Company in the event of:

          (1) any insolvency or bankruptcy case or proceeding, or any
     receivership, liquidation, reorganization or other similar case or
     proceeding in connection therewith, relative to the Company or to its
     creditors, as such, or to its assets; or

          (2) any liquidation, dissolution or other winding up of the Company,
     whether voluntary or involuntary and whether or not involving insolvency or
     bankruptcy; or

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          (3) any assignment for the benefit of creditors or any other
     marshaling of assets and liabilities of the Company; then and in such event

                   (A) the holders of Senior Indebtedness shall be entitled to
          receive payment in full of all amounts due or to become due on or in
          respect of all Senior Indebtedness, or provision shall be made for
          such payment in cash, before the Holders of the Securities of any
          series are entitled to receive any payment on account of the principal
          amount, interest or such other amounts as may be provided for in
          Section 3.01, if any, in respect of the Securities of such series; and
          ------------

                   (B) any payment or distribution of assets of the Company of
          any kind or character, whether in cash, property or securities, by
          set-off or otherwise, to which the Holders or the Trustee would be
          entitled but for the provisions of this Article Fourteen, including
                                                  ----------------
          any such payment or distribution which may be payable or deliverable
          by reason of the payment of any other Indebtedness of the Company
          being subordinated to the payment of the Securities of such series,
          shall be paid by the liquidating trustee or agent or other Person
          making such payment or distribution, whether a trustee in bankruptcy,
          a receiver or liquidating trustee or otherwise, directly to the
          holders of Senior Indebtedness or their representative or
          representatives or to the trustee or trustees under any indenture
          under which any instruments evidencing any of such Senior Indebtedness
          may have been issued, ratably according to the aggregate amounts
          remaining unpaid on account of the principal of (and premium, if any)
          and interest on the Senior Indebtedness held or represented by each,
          to the extent necessary to make payment in full of all Senior
          Indebtedness remaining unpaid, after giving effect to any concurrent
          payment or distribution to the holders of such Senior Indebtedness or
          provision therefor.

          In the event that, notwithstanding the foregoing provisions of this
Section 14.02, the Trustee or the Holder of any Security of any series shall
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receive any payment or distribution of assets of the Company of any kind or
character, whether in cash, property or securities, including any such payment
or distribution which may be payable or deliverable by reason of the payment of
any other Indebtedness of the Company being subordinated to the payment of the
Securities of such series, before all Senior Indebtedness is paid in full or
payment thereof provided for, and if such fact shall then have been made known
to the Trustee as provided in Section 14.10, or, as the case may be, such
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Holder, then and in such event such payment or distribution shall be paid over
or delivered forthwith to the trustee in bankruptcy, receiver, liquidating
trustee, custodian, assignee, agent or other Person making payment or
distribution of assets of the Company for application to the payment of all
Senior Indebtedness remaining unpaid, to the extent necessary to pay all Senior
Indebtedness in full, after giving effect to any concurrent payment or
distribution to or for the holders of Senior Indebtedness.

          For purposes of this Article Fourteen only, the words "cash, property
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or securities," or any combination thereof, shall not be deemed to include
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shares of capital stock of the Company as reorganized or readjusted, or
securities of the Company or any other corporation provided for by a plan of
reorganization or readjustment the payment of which is subordinated, at

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least to the extent provided in this Article Fourteen with respect to the
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Securities, to the payment of all Senior Indebtedness which may at the time be
outstanding; provided, however, that (i) Senior Indebtedness is assumed by the
new corporation, if any, resulting from any such reorganization or readjustment,
and (ii) the rights of the holders of the Senior Indebtedness are not, without
the consent of such holders, altered, in any manner adverse to such holders, by
such reorganization or readjustment.

          The consolidation of the Company with, or the merger of the Company
into, another corporation or the liquidation or dissolution of the Company
following the conveyance or transfer of all or substantially all of its assets
to another Person upon the terms and conditions set forth in Article Eight shall
                                                             -------------
not be deemed a dissolution, winding up, liquidation, reorganization, assignment
for the benefit of creditors or marshaling of assets and liabilities of the
Company for the purposes of this Section 14.02 if the corporation formed by such
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consolidation or into which the Company is merged or the Person which acquires
by conveyance or transfer all or substantially all of the assets of the Company,
as the case may be, shall, as a part of such consolidation, merger, conveyance
or transfer, comply with the conditions set forth in Article Eight.
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SECTION 14.03. Prior Payment to Senior Indebtedness upon Acceleration of
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               Securities.
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          In the event that any Securities of any series are declared due and
payable before their maturity in accordance with Section 5.02 because of an
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Event of Default, then and in such event the holders of Senior Indebtedness
shall be entitled to receive payment in full of all amounts due or to become due
on or in respect of all Senior Indebtedness or provision shall be made for such
payment in cash, before the Holders of the Securities of such series are
entitled to receive any payment (including any payment which may be payable by
reason of the payment of any other Indebtedness of the Company being
subordinated to the payment of the Securities of such series) by the Company on
account of the principal of (or premium, if any) or interest or other amounts on
Securities of such series as provided in Section 3.01, if any, or on account of
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the purchase or other acquisition of Securities of such series.

          In the event that, notwithstanding the foregoing, the Company shall
make any payment to the Trustee or the Holder of any Securities of any series
prohibited by the foregoing provisions of this Section 14.03, and if such facts
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then shall have been known or thereafter shall have been made known to the
Trustee (as provided in Section 14.10) or to such Holder, as the case may be,
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pursuant to the terms of this Indenture, then and in such event such payment
shall be paid over and delivered forthwith to the Company by or on behalf of the
Person holding such payment for the benefit of the holders of Senior
Indebtedness.

          The provisions of this Section 14.03 shall not apply to any payment
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with respect to which Section 14.02 would be applicable.
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